                              NO. 07-09-0185-CV

                           IN THE COURT OF APPEALS

                      FOR THE SEVENTH DISTRICT OF TEXAS

                                 AT AMARILLO

                                   PANEL C

                              NOVEMBER 15, 2010








            DESHAZO-GEORGE POST #68 -- AMERICAN LEGION, APPELLANT


                                     V.


                TEXAS ALCOHOLIC BEVERAGE COMMISSION, APPELLEE





               FROM THE 31ST DISTRICT COURT OF WHEELER COUNTY;

                 NO. 12,285; HONORABLE STEVEN EMMERT, JUDGE





Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.


                             MEMORANDUM OPINION

      Pending before this Court is Appellant's Motion To Dismiss  Appeal  in
which he represents he no longer wishes  to  pursue  this  appeal.   Without
passing on the merits of the case, Appellant's motion  is  granted  and  the
appeal is dismissed.  Tex. R. App.  P.  42.1(a)(1).   Having  dismissed  the
appeal at Appellant's request, no motion for rehearing will  be  entertained
and our mandate shall issue forthwith.

                                             Patrick A. Pirtle
                                                   Justice
